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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 LINDA JOHNSON,                                 )
                                                )
                       Plaintiff,               )
                                                )   Case No. 1:21-cv-02394-JPO
        v.                                      )
                                                )
 FLIR SYSTEMS, INC., EARL R. LEWIS,             )
 JAMES J. CANNON, JOHN D. CARTER,               )
 WILLIAM W. CROUCH, CATHERINE A.                )
 HALLIGAN, ANGUS L. MACDONALD,                  )
 MICHAEL T. SMITH, CATHY                        )
 STAUFFER, ROBERT S. TYRER, JOHN                )
 W. WOOD, JR., STEVEN E. WYNNE,                 )
 TELEDYNE TECHNOLOGIES                          )
 INCORPORATED, FIREWORK MERGER                  )
 SUB I, INC., and FIREWORK MERGER               )
 SUB II, LLC,                                   )
                                                )
                                                )
                       Defendants.              )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: March 31, 2021                           RIGRODSKY LAW, P.A.

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